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       FIL ED
 AO 91 (Rev. 11/11) Criminal Complaint                                          AUSA Andrew C. Erskine (312) 353-1875

         2/2021
          9/2                            UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF ILLINOIS
               . BRUTO    N
     THOMA.SDG
             IS T R IC T COURT                EASTERN DIVISION
  CLERK, U.S
 UNITED STATES OF AMERICA
                                                            CASE NUMBER: 21 CR 591
                         v.                                 UNDER SEAL

 MIGUEL SALINAS SALCEDO,
       also known as “JORGE SALAS”

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Beginning no later than in or about April 2019 and continuing until at least on or about October 28, 2020, at Chicago,
in the Northern District of Illinois, Eastern Division, and elsewhere, the defendant violated:
      Code Section                                       Offense Description
      Title 18, United States Code, Section 1956(h)      conspiracy to commit offenses in violation of Title 18,
                                                         United States Code, Section 1956, that is to knowingly
                                                         conduct and attempt to conduct a financial transaction
                                                         affecting interstate and foreign commerce, which involved
                                                         the proceeds of a specified unlawful activity, that is the
                                                         felonious buying and selling and otherwise dealing in a
                                                         controlled substance, knowing that the transaction was
                                                         designed in whole and in part to conceal and disguise the
                                                         nature, location, source, ownership, and control, of the
                                                         proceeds of said specified unlawful activity and that while
                                                         conducting and attempting to conduct such financial
                                                         transaction knew that the property involved in the financial
                                                         transaction represented the proceeds of some form of
                                                         unlawful activity, in violation of Title 18, United States
                                                         Code, Section 1956(a)(1)(B)(i)


    This criminal complaint is based upon these facts:
      X   Continued on the attached sheet.


                                                               CAROLYN WORKING
                                                               Special Agent, Homeland Security Investigations
                                                               (HSI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaintt is presented by reliable ele
                                                                             electronic
                                                                                 c ronic means.
                                                                               ect             s. The above-
                                                                                               s.
named agent provided a sworn statement attesting
                                               g to the
                                                      e truth
                                                            u h of the Complaint
                                                        ttrrut                nt and
                                                                              nt and Affidavit
                                                                                     Aff
                                                                                       ff
                                                                                       ffidavit    telephone.
                                                                                                by tel

 Date: September 22, 2021
                                                                               Judge’s
                                                                               J udge’s signature

 City and state: Chicago, Illinois                         YOUNG
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                                                               NG B. KIM
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                                                                          U.S.
                                                                           .S. Magistrate Judge
                                                                       Printed name and title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                       AFFIDAVIT

      I, CAROLYN WORKING, being duly sworn, state as follows:

      1.     I am a Special Agent with the Homeland Security Investigations (“HSI”)

and have been so employed since approximately 2019. I am currently assigned to U.S.

Department of Homeland Security, Homeland Security Investigations, Chicago

Financial Investigations Group (HSI Chicago FIG), and my responsibilities include

the investigation of narcotics trafficking offenses. As part of my duties, I investigate

criminal violations relating to narcotics trafficking, money laundering, and money

transmitting offenses, including violations of Title 21, United States Code, Sections

841 and 846; and Title 18, United States Code, Sections 1956(h) and 1960. I have

been involved with various electronic surveillance methods, the debriefing of

defendants, informants, and witnesses, as well as others who have knowledge of the

distribution, transportation, storage, and importation of controlled substances and

the further laundering of proceeds of narcotics smuggling and trafficking. I have

received   training   in   narcotics   investigations,   money   laundering,   financial

investigations, and various methods which drug dealers use in an effort to conceal

and launder the proceeds of their illicit drug trafficking enterprises.         I have

participated in investigations involving violations of narcotics laws. I have also

participated in investigations that have led to the issuance of warrants involving

violations of narcotic laws.
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      2.     I am an “investigative or law enforcement officer” within the meaning of

Section 2510(7) of Title 18, United States Code; that is, an officer of the United States

empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in Title 18, United States Code, Section 2516. I have participated in

numerous drug-trafficking and money-laundering investigations involving various

investigative techniques, including physical and electronic surveillance, the use of

cooperating witnesses and informants, video, and visual surveillance, questioning of

witnesses, controlled deliveries of narcotics, obtaining and analyzing a wide variety

of records and data (including pen register and trap and trace data and cell phone

location data), and tracing drug proceeds. I have also been involved in the execution

of numerous search warrants, arrests, and consent searches related to violations of

federal law. These investigative actions have covered the searches of locations such

as vehicles, residences, and businesses. Evidence recovered in these searches has

included multi-kilogram quantities of marijuana, drug ledgers, large quantities of

United States currency, drug packaging and paraphernalia, and other evidence. I

have participated in the debriefing and questioning of numerous defendants,

witnesses, informants, and others who have knowledge of narcotics trafficking, and

of the laundering and concealing of proceeds of drug trafficking.

      3.     I have participated in investigations involving consensually recorded

telephone and in-person conversations involving informants and cooperating

defendants. I have participated in the analysis and targeting of telephone numbers

used in furtherance of drug trafficking and money laundering operations.




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      4.       My descriptions of conversations in this affidavit are non-final

summaries based on my review of draft transcripts of the recordings and my

understanding of the context of the conversations. Those descriptions are not based

on final, verbatim transcripts, and the times listed for the conversations are

approximate. I have summarized conversations based, in part, on a preliminary

review of draft transcripts of translated conversations, with my understandings in

brackets based on my training and experience and the investigation to date. Spanish-

to-English translations are non-final drafts. Since this affidavit is offered for a limited

purpose, I have not included a description of every topic discussed or every statement

contained in the recorded conversations, and I have not included all of the facts

known to me or other law enforcement officers about the investigation.

                           Purpose and Basis of Affidavit

      5.       This affidavit is submitted in support of a criminal complaint alleging

that MIGUEL SALINAS SALCEDO, also known as JORGE SALAS, has violated

Title 18, United States Code, Section 1956(h).         Because this affidavit is being

submitted for the limited purpose of establishing probable cause in support of a

criminal     complaint   charging   SALINAS      SALCEDO       with    money-laundering

conspiracy, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to believe that the defendant committed the offense alleged in the

complaint.




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       6.     The information set forth in this Affidavit is based upon my

participation in this investigation, interviews of witnesses, information received from

other law enforcement agents, review of documents, emails, text messages and my

experience and training. All calls were recorded.

            Background on Money Laundering and Drug Trafficking

       7.     Based on my training and experience, I know the following information

about international money laundering and the Black-Market Peso Exchange:

Colombia is one of the world’s primary sources of cocaine and heroin. There are

numerous Money Laundering and Drug Trafficking Organizations (MLDTO)

operating in Mexico. Examples of some of these MLDTOs are the Sinaloa Cartel, La

Familia Cartel, Knights Templar Cartel, Juarez Cartel and Gulf Cartel. As a general

rule, these Mexico-based MLDTOs purchase South American processed cocaine

which is transshipped through Mexico and smuggled into the United States. These

MLDTOs also grow, cultivate, cook, and process heroin, methamphetamines and

marijuana in Mexico and subsequently smuggle the controlled substances into the

United States for resale. The sale of these controlled substances generates

substantial cash flow for the MLDTOs which represent the cost of goods sold and

illegal profits.

       8.     Each year, MLDTOs generate billions of dollars of narcotics proceeds. In

the United States, these narcotics are sold for dollars, almost always in cash, and

often in small denominations. To profit effectively from this illegal activity, MLDTOs

must find a way to “launder” these vast sums of cash, that is, to have the funds




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transferred to a place and in a form that the narcotics traffickers can use them and

in a manner that avoids detection by law enforcement.

      9.     Banking laws in the United States, Colombia, and Mexico prevent

narcotics traffickers from simply depositing the funds into accounts in the United

States and transferring them to Colombia, Mexico, or other countries. As a result,

narcotics traffickers must disguise, or “launder”, the funds in order to hide their true

source.

      10.    The Black-Market Peso Exchange (the “BMPE”) is one of the primary

methods used by MLDTOs to launder their proceeds. The basic BMPE scheme

typically operates as described below.

      11.    In Colombia or Mexico, a narcotics trafficker owning narcotics proceeds

generated in the United States and elsewhere outside of Colombia or Mexico contacts

a third party - generally referred to as a “peso broker” - who agrees to trade pesos he

controls in Colombia or Mexico in exchange for the cash narcotics proceeds in the

United States and elsewhere outside of Colombia or Mexico. Once this exchange

occurs, the narcotics trafficker, having received pesos in Colombia or Mexico from the

peso broker, has effectively laundered his money and is out of the BMPE process. The

peso broker, on the other hand, must now do something with the drug dollars that he

has acquired outside of Colombia or Mexico so that he can obtain more pesos to begin

the BMPE process again.

      12.    To do so, the peso broker uses contacts in the United States and

elsewhere outside of Colombia or Mexico to receive the drug proceeds purchased from




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the narcotics trafficker, often arranging for criminal associates to receive the drug

proceeds in suitcases or bags from operatives who control the narcotics trafficker’s

money. After the money is physically transferred, the peso broker uses additional

contacts in the United States to get the drug proceeds into the United States banking

system. To avoid detection, this is often done either through deposits into bank

accounts in company names that are intended to appear to be related to legitimate

business activity or through multiple deposits of small amounts of drug proceeds into

different bank accounts which are then consolidated into larger accounts both in the

United States and elsewhere outside of Colombia or Mexico. The peso broker, still

operating in Colombia or Mexico, now has a pool of narcotics-derived proceeds in the

United States to sell to individuals or companies in Colombia who desire United

States dollars.

      13.    Persons in Colombia or Mexico, either individuals or companies, who

have pesos to sell—whether from legitimate sources or not—and who want to

exchange pesos for dollars in a manner that avoids Colombian or Mexican currency

exchange and income reporting requirements and the payment of taxes, tariffs, and

duties owed to the government, then make arrangements with the peso broker. In an

effort to conceal the true nature of these transactions, dealings between the dollar

purchaser and the peso broker are almost always based only on verbal agreements

and conducted without any paperwork. As a result, these transactions enable

Colombians and Mexicans to avoid currency exchange and income reporting

requirements and the payment of taxes, tariffs, and duties owed to the government.




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Once the transaction is complete, the peso broker then uses his contacts in the United

States and elsewhere outside Colombia or Mexico to transfer the drug proceeds he

has accumulated from the narcotics trafficker to wherever the dollar purchasers ask

for them to be transferred. Therefore, under the BMPE system, the drug proceeds can

and often do end up in the accounts of individuals or companies who appear to have

no direct involvement in narcotic-trafficking crimes.

      14.    All three parties involved in the BPME process benefit: (a) the MLDTO

receives laundered pesos; (b) the dollar purchaser evades United States and

Colombian/Mexican currency exchange and income reporting requirements, and the

payment of taxes, tariffs, or duties owed to the government; and (c) the peso broker

makes a profit from the commissions retained during the unofficial currency

exchange process. Meanwhile the BMPE process frustrates the efforts of the United

States, Colombia, Mexico, and other governments around the world to enforce their

currency exchange and income reporting requirements, to collect taxes, tariffs and

duties owed to them, and to maintain the integrity of their financial institutions.

                          Background on Investigation

      15.    Since approximately April 2019, an HSI investigator working in an

undercover capacity (“UC1”) has been in communication with MIGUEL ANGEL

SALINAS SALCEDO a/k/a. JORGE SALAS. 1 UC1 and SALINAS SALCEDO have




1 SALINAS SALCEDO was introduced to UC1 as “JORGE SALAS.” However,
investigators subsequently identified him as MIGUEL ANGEL SALINAS SALCEDO
as follows:



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communicated numerous times, and UC1 recognizes SALINAS SALCEDO by voice.

Based on communications and work between SALINAS SALCEDO and UC1,

SALINAS SALCEDO has been identified as a Mexico-based money broker—that is,




On or about March 21, 2021, SALINAS SALCEDO told another undercover
investigator (UC2) he would be traveling to “Angela” [Los Angeles] soon and would
give UC2 a new phone number, which SALINAS SALCEDO did later the same day.
According to records from AT&T, the phone from which SALINAS SALCEDO called
had a subscriber address of a store in San Diego. On or about April 16, 2021,
investigators received an image from the store of a male purchasing a pre-paid phone
at the store around the time SALINAS SALCEDO’s phone was activated (per AT&T
records). The image showed a bald Hispanic male wearing a black face mask, red
long-sleeve shirt, blue jeans, and sneakers.

On or about April 20, 2021, UC2 received a message from a new number stating, “Bro
I’m this number [sic] for a few days”. Based on further communications with this
number, UC2 confirmed this was “JORGE SALAS”/SALINAS SALCEDO. According
to records from AT&T, this second phone from which SALINAS SALCEDO called
UC2 had a subscriber address of another store in San Diego. The subscriber was listed
as “Daniel Salas.” On April 21, 2021, investigators received images from the second
store of a male purchasing a pre-paid phone at that store on or about April 20, 2021
at approximately 1:12 p.m. local time, around the time the second phone was
activated (per AT&T records). The image showed a bald Hispanic male wearing a blue
face mask, red long-sleeve shirt, black pants, and black sneakers.

A search of U.S. Customs and Border Protection border-crossing records for the days
March 21, 2021, and April 20, 2021, revealed that a MIGUEL ANGEL SALINAS
SALCEDO crossed through San Ysidro pedestrian lane on March 21, 2021 at
approximately 1:50 p.m. local time and through Otay Mesa Cross Border Express on
April 20, 2021 at approximately 11:15 a.m. The images of SALINAS SALCEDO’s
border crossing on March 21, 2021 were compared with the image from the first store,
and the image of SALINAS SALCEDO’s border crossing on April 20, 2021 was
compared with the images from the second store. These images confirmed that it was
the same individual.

According to CBP records, on or about September 13, 2021, SALINAS SALCEDO
entered the United States from Mexico via Otay Mesa, which is near San Diego. On
or about September 14, 2021, “SALAS”/SALINAS SALCEDO contacted UC2 and
stated he was in San Diego and would be there for two weeks.



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someone who contracts with drug traffickers in Mexico to help repatriate cash drug

proceeds located in the United States. Over the course of the investigation into

SALINAS SALCEDO, UC1—posing as a U.S.-based money launderer—has accepted

and filled approximately 22 money-laundering contracts offered by SALINAS

SALCEDO totaling approximately $2,837,892 in cash. Each of these contracts was

executed by UC1’s representative (i.e., an undercover investigator) meeting with an

unknown person (i.e., the money courier working on behalf of the owner of the money)

in a public place for bulk cash to be discretely transferred. These “money pickups”—

based on contracts offered by SALINAS SALCEDO—have been conducted in Chicago,

Illinois; New York, New York; Cleveland, Ohio; Atlanta, Georgia; Kansas City,

Missouri; Dallas, Texas; Baltimore, Maryland and has been offered contracts in Los

Angeles, California; Seattle, Washington, Boston, Massachusetts; Greensboro, North

Carolina; Miami, Florida; and Philadelphia, Pennsylvania; Louisville, Kentucky;

Houston, Texas; Detroit, Michigan; Baltimore, Maryland and Orlando, Florida. After

receiving the bulk cash, investigators completed the contracts by transferring the

funds to bank accounts as directed by the owner of the money (as relayed by SALINAS

SALCEDO).

      16.   One of these contracts brokered by SALINAS SALCEDO led to the

seizure of six kilograms of cocaine and approximately $586,220 in or about May 2019

in Winston Salem, North Carolina, when the courier was intercepted by law

enforcement (prior to the money-transfer meeting), and approximately $393,000 was

recovered from the courier’s vehicle. Further, approximately $191,325, and about six




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kilograms of cocaine was seized pursuant to a search warrant executed at the

residence the courier was seen departing. Likewise, in relation to other money

pickups brokered by SALINAS SALCEDO, in Kansas City, Missouri, in or about June

2020, law enforcement seized approximately $290,960 from the courier and in

Chicago, Illinois, in or about August 2020, law enforcement seized approximately

$332,750 from two separate couriers.

      17.    Based on the drug seizures described above, and on additional evidence

detailed below, as well as based on my training and experience, I believe the money

involved in SALINAS SALCEDO’s contracts constitute drug proceeds.

      18.    As noted, a number of the money contracts offered to UC1 by SALINAS

SALCEDO were in Chicago. Five of the these Chicago-based “money pickups” are

detailed below.

                           May 1, 2020, Money Pickup

      19.    On or about April 23, 2020, UC1 was contacted by SALINAS SALCEDO

who requested UC1’s assistance with a money pickup of “200” [$200,000] in Chicago.

SALINAS SALCEDO requested a series [dollar-bill serial number], and UC1

provided SALINAS SALCEDO a phone number of a courier in Chicago [to receive the

cash] as well as the serial number of a one-dollar bill. In addition, UC1 provided the

verbal code “de parte de Emiliano” [on behalf of Emiliano]. The phone number

provided to SALINAS SALCEDO belonged to another undercover investigator who

was posing as a money courier in Chicago (“UC2”).




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      20.    Based on my training and experience, and my communications with my

fellow investigators, I know that individuals participating in the transfer of bulk cash

drug proceeds often make use of a dollar bill and its serial number and a verbal code

in order to verify that the correct couriers are meeting and are correctly transferring

the proceeds. If a party is not able to produce the bill bearing the serial number or

the verbal code, the cash transfer does not take place. I am further aware that

information about the serial number on the dollar bill is commonly communicated by

cell phone from the money courier holding the dollar bill to the money broker

coordinating the transaction (or another person who is in contact with such a money

broker).

      21.    On or about April 27, 2020, UC1 inquired about the status of the Chicago

money pickup and SALINAS SALCEDO stated he would check. On or about April 28,

2020, SALINAS SALCEDO asked UC1 if he/she had heard anything in “the wind”

[Chicago]. UC1 responded “no” and asked if SALINAS SALCEDO was told they

[Chicago courier] had called. SALINAS SALCEDO informed UC1 he hadn’t heard

anything and would call [the client] to see what was going on. At approximately 3:07

p.m. SALINAS SALCEDO forwarded a message to UC1 from an unknown third party

which said “They will call you for sure. They said they are almost at 200 [$200,000].

That’s how the fuckers are there.”

      22.    On or about April 29, 2020, SALINAS SALCEDO informed UC1 that a

call should be received in Chicago that day. SALINAS SALCEDO explained the




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Chicago clients had been still putting the money together but were supposed to be

done that day.

       23.    On or about April 30, 2020, UC1 asked SALINAS SALCEDO if the

Chicago contract fell through. SALINAS SALCEDO responded stating the Chicago

clients would be calling that day to deliver 72 [$72,000] in the meantime.

       24.    On or about April 30, 2020, at approximately 8:01 p.m., UC2 received a

phone call from an unknown male (“MONEY COURIER 1”). After the codes above-

described codes were exchanged, MONEY COURIER 1 and UC2 agreed to meet the

following day.

       25.    On or about May 1, 2020, at approximately 11:47 a.m. UC2 received a

call from MONEY COURIER 1 and the two agreed to meet at a store in Lansing,

Illinois, later that day.

       26.    On or about May 1, 2020, UC1 informed SALINAS SALCEDO that the

parties in Chicago were supposed to meet that afternoon. UC1 asked if SALINAS

SALCEDO wanted the funds to go to an account SALINAS SALCEDO had previously

used, and SALINAS SALCEDO stated he would let UC1 know. Later that day,

SALINAS SALCEDO provided UC1 with instructions to wire the funds, less 2.5%.

UC1 asked whether SALINAS SALCEDO meant less 1.5% [UC1’s commission] but

SALINAS SALCEDO explained UC1 should also hold SALINAS SALCEDO’s

commission, and they could figure out how to get the remainder to SALINAS

SALCEDO later.




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      27.      On or about May 1, 2020, at approximately 2:22 p.m., UC2 received a

call from MONEY COURIER 1 requesting UC2’s exact location. Moments later,

MONEY COURIER 1 arrived and parked next to UC2’s vehicle. After exchanging

greetings, UC2 provided the dollar bill (bearing the serial number that’d been passed

to SALINAS SALCEDO) to MONEY COURIER 1. After confirming the amount,

MONEY COURIER 1 retrieved a bucket from the rear of his truck bed, removed a

green plastic bag from within the bucket and placed it on the ground in between the

two vehicles. UC2 picked up the bag and placed it inside the undercover vehicle. UC2

confirmed the bag contained bulk U.S. currency and UC2 and MONEY COURIER 1

parted ways.

      28.      On or about May 1, 2020, at approximately 2:36 p.m. SALINAS

SALCEDO messaged UC1 stating he was notified the Chicago pickup had occurred.

UC1 confirmed the pickup occurred and informed SALINAS SALCEDO the

individual who delivered the funds said it was $70,500. UC1 told SALINAS

SALCEDO the funds would be deposited the following day and UC1 would provide

SALINAS SALCEDO the final count once the funds were deposited.

      29.      On or about May 2, 2020, UC1 informed SALINAS SALCEDO the final

count was $70,500 and provided SALINAS SALCEDO a wire receipt showing that a

wire in the amount of $68,702.50 was sent as per SALINAS SALCEDO’s instruction.

                           July 27, 2020, Money Pickup

      30.      On or about July 23, 2020, SALINAS SALCEDO contacted UC1 writing

“Let’s start off with 100 thousand. Request a token for Chicago.” UC1 provided a




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phone number of a supposed courier in Chicago (“UC3”), a dollar bill serial number,

and the verbal code “de parte de Emiliano”.

      31.    On or about July 24, 2020, UC3 received a call from an unknown male

(MONEY COURIER 2) and the two discussed talking on the following Sunday to

confirm the meeting time and location for Monday July 27, 2020.

      32.    On or about July 24, 2020, UC1 informed SALINAS SALCEDO that

contact had been made in Chicago and the parties agreed to speak on Sunday to

coordinate the pickup for Monday.

      33.    On or about July 26, 2020, UC1 informed SALINAS SALCEDO that his

people were not answering the phone and SALINAS SALCEDO texted “Let me call

him, bro. I was just about to ask you.”

      34.    On or about July 26, 2020, at approximately 4:45 p.m., UC3 received a

call from MONEY COURIER 2 and the two agreed to meet on Monday, July 27, 2020

at approximately 3:00 p.m.

      35.    On or about July 27, 2020, SALINAS SALCEDO asked UC1 whether

he/she knew if communications occurred. UC1 informed SALINAS SALCEDO that

the parties had agreed to meet at 3:00 p.m.

      36.    On or about July 27, 2020, at approximately 3:25 p.m., UC3 arrived at

the agreed-upon gas station in Chicago and called MONEY COURIER 2 to provide

his/her vehicle description. MONEY COURIER 2, in turn, provided his vehicle

description and moments later MONEY COURIER 2 arrived near UC3, exited his

vehicle carrying a small box and approached UC3’s vehicle. MONEY COURIER 2




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entered the undercover vehicle, UC3 provided him the serial number, and MONEY

COURIER 2 confirmed the code using his cell phone. MONEY COURIER 2 then

turned the box over to UC3 and UC3 confirmed the box contained bulk U.S. currency.

MONEY COURIER 2 informed UC3 that he had counted it and provided a detailed

count of each bundle, totaling $100,000. MONEY COURIER 2 then exited the

undercover vehicle, returned to his vehicle, and departed.

      37.    On or about July 27, 2020, at approximately 3:36 p.m. SALINAS

SALCEDO texted UC1 asking, “Did you hear anything about the pickup, bro?” UC1

informed SALINAS SALCEDO that the pickup had occurred and asked SALINAS

SALCEDO where he wanted the money sent.

      38.    On or about July 28, 2020, SALINAS SALCEDO sent UC1 instructions

for wiring the funds to multiple accounts, along with instructions about the amount

to send to each account. SALINAS SALCEDO also texted UC1 “I also have to send

them amount. They’ve been nagging and nagging since yesterday.” UC1 provided the

amount picked up and receipts from the wire transfers.

                         August 4, 2020, Money Pickup

      39.    As described below, in August 2020, SALINAS SALCEDO provided a

contract to UC1 that was conducted by UC2. During the money pickup, as well as

afterwards, UC2 offered to sell cocaine to the money courier. As a result, the owners

of the money involved in the contract became upset with SALINAS SALCEDO

[because the money courier attempted to steal their cocaine customer]. Accordingly,

SALINAS SALCEDO complained to UC1.




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      40.      More specifically, on or about July 28, 2020, at approximately 5:33 p.m.

SALINAS SALCEDO texted UC1 “Bro, can you ask [UC2] for another serial number?

This one’s for 80.” UC1 provided SALINAS SALCEDO with a phone number, one

dollar bill serial number and the verbal code “de parte de Emiliano.”

      41.      On or about August 3, 2020, at approximately 5:04 p.m., UC2 received a

call from an unknown male (MONEY COURIER 3) who passed the verbal code and

stated he needed to meet UC2 so he could “hand over a check” [deliver bulk cash].

UC2 asked MONEY COURIER 3 for “the numbers on the check” [the amount] and

MONEY COURIER 3 stated “thirty-two” [$32,000]. UC2 told MONEY COURIER 3

“the party” [the amount] was supposed to be for one hundred fifty. MONEY

COURIER 3 advised he would check and contact UC2 later.

      42.      On or about August 3, 2020, at approximately 5:10 p.m. MONEY

COURIER 3 called UC2 and said he needed to confirm the serial number on the one-

dollar bill. MONEY COURIER 3 confirmed the amount would be ‘thirty-two people’

and MONEY COURIER 3 and UC2 confirmed the serial number. MONEY COURIER

3 and UC2 agreed to meet midday on August 4, 2020.

      43.      On the same day, UC1 texted SALINAS SALCEDO asking about the

amount. SALINAS SALCEDO replied “Bro, I already called. I’ll explain what he said.

He has one for 30 and another for 120 from two different people and an additional

one for 40.”

      44.      On August 4, 2020, at approximately 11:14 a.m. MONEY COURIER 3

called UC2, and they agreed to meet at 1:00 p.m.




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      45.    On August 4, 2020, at approximately 11:22 a.m. MONEY COURIER 3

called UC2 and advised he was available to meet immediately. UC2 said he/she was

busy, and it would be easier to keep the 1:00 p.m. time. MONEY COURIER 3 agreed

and said that everything always appears so easy for the people down south [Mexico]

and that he had similar conversations with someone else who does the same [money

pickups], and they both have commented that sometimes those people [in Mexico]

don’t even have the tickets [bulk cash] collected and are already planning how to

spend the money.

      46.    On August 4, 2020, at approximately 12:14 p.m. UC2 gave MONEY

COURIER 3 the address for a store in Countryside, Illinois, for the meeting.

      47.    On August 4, 2020, at approximately 12:47 p.m. MONEY COURIER 3

called UC2 and asked if he/she had the one-dollar bill because “they” had told him

only to give “it” [the drug proceeds] to UC2 if he/she has the dollar.

      48.    On August 4, 2020, at approximately 1:07 p.m. MONEY COURIER 3

and UC2 made contact in a restaurant parking lot near the store. MONEY COURIER

3 entered UC2’s vehicle carrying a blue and white plastic bag. Once the dollar bill

was confirmed, MONEY COURIER 3 handed UC2 the bag. UC2 opened the bag,

confirmed it contained bulk U.S. currency, and removed the bundles of currency so

that MONEY COURIER 3 could see, then placed the currency back into the bag and

opened an aftermarket hidden compartment (a “trap”) located in the undercover

vehicle. MONEY COURIER 3 appeared impressed by the compartment and

immediately asked how much it cost. MONEY COURIER 3 told UC2 they have a guy




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who comes from Mexico to install compartments, but he takes too long. UC2 told

MONEY COURIER 3 the compartment could hold three million [dollars] along with

about thirty kilos. MONEY COURIER 3 stated he wanted to remain in

communication with UC2, exited the undercover vehicle, retrieved another cell phone

from his vehicle and returned to the undercover vehicle. MONEY COURIER 3

provided UC2 this other phone number and the two conversed about the demands the

people in Mexico have. UC2 mentioned that it was “dry” out there [no narcotics] and

MONEY COURIER 3 agreed. MONEY COURIER 3 told UC2 that “they” have been

telling him for months that something is coming, but it hasn’t come. MONEY

COURIER 3 also told UC2 that there is stuff here, but “they” are hoarding it and it

is up there in price. UC2 asked MONEY COURIER 3 if he had one or two [kilograms]

he/she could purchase to supply his/her customers and MONEY COURIER 3 laughed

and said, “you took the words out of my mouth, I was gonna tell you that.” UC2 asked

MONEY COURIER 3 how many he would need, and MONEY COURIER 3 said he

would like to see a sample first. UC2 asked MONEY COURIER 3 if he was looking

for ‘Chinese food’ [heroin] or ‘soda’ [cocaine] and MONEY COURIER 3 said right now

he was only interested in ‘soda’. MONEY COURIER 3 asked UC2 for prices and a

photo [sample], and the two agreed it would be best to start with one [kilogram]

although MONEY COURIER 3 said if he like the quality he would want between ten

and twenty [kilograms]. Prior to exiting the undercover vehicle, MONEY COURIER

3 requested to start with a photo [sample], and UC2 agreed.




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      49.    On or about August 6, 2020, at approximately 8:48 p.m. SALINAS

SALCEDO sent wiring instructions to UC1 along with a text saying “Bro, help me

send the 31 tomorrow. If you can do it early, I would appreciate it”.

      50.    On August 12, 2020, at approximately 7:13 p.m. UC2 placed a call to

MONEY COURIER 3 and told him some ‘stuff’ [cocaine] was coming in and asked if

MONEY COURIER 3 wanted to talk. MONEY COURIER 3 asked for the price on the

‘tires’ [cocaine] and they discussed price. UC2 advised MONEY COURIER 3 he/she

would be sending a picture, and MONEY COURIER 3 said he would save UC2’s

number.

      51.    On August 12, 2020, at approximately 7:21 p.m. UC2 sent MONEY

COURIER 3 the following picture via text message:




      52.    Continuing the same day, after some text messages about the price were

exchanged, at approximately 12:17 p.m., UC2 called MONEY COURIER 3. MONEY




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COURIER 3 advised that he only wanted one ‘rim’ [kilogram] at the moment, and his

boss wanted him to make sure it ‘fit on his truck’ [was good quality]. If everything

worked well, they could take more. MONEY COURIER 3 stated the buyer was very

picky, to which UC2 replied that the person would probably be looking to ‘cook it’ and

MONEY COURIER 3 agreed and asked if it was possible to do so. UC2 informed

MONEY COURIER 3 that it was clean and untouched.

      53.    On or about September 3, 2020, at approximately 10:44 p.m. SALINAS

SALCEDO sent UC1 a message stating, “Bro and I forgot to mention, but the people

with this last serial number you sent for Chicago didn’t call because you sent me the

same number and the same name. We need to change numbers and codes because

the people from the ranch are stuck in their ways, you know.”

      54.    On or about September 6, 2020, beginning at approximately 11:20 a.m.

SALINAS SALCEDO sent UC1 the following message: “Bro, whenever you can report

to me, I need to talk to you. They [the owners of the drug proceeds delivered by

MONEY COURIER 3] called me today so we could go have breakfast and they could

talk to me because of a situation in Chicago. They didn’t want to tell me why exactly

they didn’t send anything else.” “What have you gotten me into? Here it looks like

he’s [UC2] offering drugs.”

      55.    On the same day at 2:57 p.m., SALINAS SALCEDO forwarded UC1

audio messages from unknown Spanish-speaking males that, in summary,

complained about UC2 attempting to provide “it” [cocaine] cheaper to MONEY

COURIER 3, as well as noting cars following MONEY COURIER 3.




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      56.    SALINAS SALCEDO subsequently sent to UC1: “It seems weird to me

because it was supposed to be [UC2], someone you trust a lot, but if they sent someone

to call me so they can talk to me, then that looks like they’re betraying us and aside

from that they offered them drugs.”

      57.    On the same day at approximately 2:59 p.m. SALINAS SALCEDO sent

UC1 the following image, which UC2 had send to MONEY COURIER 3:




      58.    On the same day, beginning at approximately 3:00 p.m., SALINAS

SALCEDO sent UC1 the following messages:

                   a.     “There it is, so you can check it out, bro.”




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                    b.    “Please, bro. This situation is very delicate. It makes me

        look like I’m not serious, it makes me look bad and these people can give us

        lots of jobs, but not like this. That’s why when I sent them the same number

        and the same reference, they didn’t want to do anything anymore. And that

        man has nothing to do with drugs. He also confronted me about that, he asked

        who I was sending with.”

        59.   On the same day beginning at approximately 6:25 p.m. SALINAS

SALCEDO sent UC1 the following: “But the betrayal part wasn’t about you or me,

it’s about the client, bro. The one who sends me the jobs. He has a lot, but obviously

he told me he wasn’t going to do it this way. That he was going to stop doing business

from one day to another. These people are betraying their clients.” UC1 asked how to

make amends with SALINAS SALCEDO’s client and SALINAS SALCEDO replied,

“Well first, I promised not to send anything to those same people, he doesn’t want to

know anything about it. So we need to be careful when it comes to the [phone]

numbers and we need to change the reference [verbal codes].” SALINAS SALCEDO

subsequently added, “And obviously, we have to make sure that this situation never

happens again, bro. The middlemen should never mention anything, let alone when

it comes to these drug topics. They should say: ‘Call someone over there [Mexico]’ or

‘communicate with someone over there [Mexico]’ at least. That’s how it works over

here.” And later, “Let’s hope it doesn’t happen again. I don’t think we could excuse it

now”.




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                        September 29, 2020, Money Pickup

        60.   On or about September 29, 2020, at approximately 10:19 a.m., UC1 was

contacted by SALINAS SALCEDO for a $350,000 money pickup in Chicago.

SALINAS SALCEDO texted: “Bro, good morning. Do you remember the last one for

“Vientos” [Chicago], that they didn’t call? They have already checked in and they are

ready now and they gathered up more. Ask for the serial number, bro let’s get it out

this week.” UC1 provided SALINAS SALCEDO a phone number for UC3 and serial

number as well as the verbal code “De parte de Pelon”.

        61.   On or about September 29, 2020, at about 1:28 p.m., UC3 received a

telephone call from an unknown male speaking in Spanish (MONEY COURIER 4).

MONEY COURIER 4 provided UC3 the verbal code that had been agreed upon by

UC1 and SALINAS SALCEDO, and proposed to meet later that day, which UC3

understood to mean for MONEY COURIER 4 to give the bulk cash to UC3.

        62.   On or about September 29, 2020, at about 2:50 p.m., UC3 placed a

telephone call to MONEY COURIER 4. UC3 proposed a location for the meeting.

MONEY COURIER 4 stated he was instructed not to drive too far and would call UC3

back.

        63.   On or about September 29, 2020, at about 2:55 p.m., UC3 received a

telephone call from MONEY COURIER 4 agreeing to meet UC3 at a mall and

proposing to meet between 4:30 p.m. and 4:45 p.m. that afternoon.




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      64.    On the same day, at about 1:18 p.m. SALINAS SALCEDO sent UC1

texts saying “They will meet over there shortly. They’ve got an appointment already.”

UC1 replied, “They did call and they agreed at 5:00 more or less.”

      65.    On or about September 29, 2020, at about 5:11 p.m., UC3 received a

telephone call from MONEY COURIER 4, informing UC3 that he was around the

mall. UC3 and MONEY COURIER 4 identified each other’s vehicles and MONEY

COURIER 4 entered the undercover vehicle. UC3 provided the dollar bill serial

number to MONEY COURIER 4. MONEY COURIER 4 placed a phone call via Snap

Chat to an unknown individual to confirm the serial number. Once confirmed,

MONEY COURIER 4 instructed UC3 to sign the dollar bill. Once UC3 complied,

MONEY COURIER 4 informed UC3 he was turning over $356,430. MONEY

COURIER 4 stated he had personally marked the $10,000 bundles with the numbers

1-32 and a separate bundle containing $7,000. In addition, MONEY COURIER 4

explained there was a separate bag containing $29,430. MONEY COURIER 4 exited

the undercover vehicle, walked back to his vehicle, and retrieved a large black duffle

bag from the rear passenger side of his vehicle, which he placed on the front passenger

seat of the undercover vehicle. UC3 opened the bag and observed numerous

aluminum wrapped bundles in vacuum sealed plastic. MONEY COURIER 4 returned

to his vehicle and departed.

      66.    On the same day at approximately 5:31 p.m., SALINAS SALCEDO

texted UC1, “A total of 356,430. They will be meeting shortly. That was half an hour




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ago”. At approximately 6:06 p.m. UC1 texted SALINAS SALCEDO, “Yes, confirmed”

and SALINAS SALCEDO replied “Copy.”

       67.       On or about September 30, 2020, at approximately 8:51 a.m. SALINAS

SALCEDO texted wiring instructions to UC1 stating “Bro, this one is only 99,978”

and “I’ll send you more transactions for the rest.” At approximately 10:32 a.m.,

SALINAS SALCEDO texted UC1 instructions and “the rest of it for this one, bro

please. But they didn’t request a fixed price… one for 70 and some change and another

for 60 and some change. I just made the request to you that it be a fixed price apart

from the 99,978 that I had already asked you for.” SALINAS SALCEDO then followed

up with, “**for it NOT to be a fixed price”. At approximately 12:46 p.m. SALINAS

SALCEDO texted UC1, “Bro, there were some changes. I’ll send you the way it will

go, for sure sorry.” And at approximately 1:14 p.m. “Let’s pretend that they sent the

356,430 minus what’s ours, there are 347,519 left minus the 99,000 from the

[business account name] minus the 122,000. The [business account name] one will

have 125,619 left. 125,619 for the [business account name] minus 90 for the 3 fees, a

total of 125,529 to be sent, the total for the [business account name]. That’s how it

will go, bro.”

       68.       On the same day at approximately 5:38 p.m., SALINAS SALCEDO

texted UC1, “Bro, do you have the paperwork? Help me out with that over here it’s

going to be 6 and you already know that I’ll do the paperwork myself.”

       69.       On October 1, 2020, UC1 sent SALINAS SALCEDO the receipts of the

wire transactions.




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                          October 22, 2020, Money Pickup

      70.    On or about October 21, 2020, at approximately 9:15 a.m., UC1 was

contacted by SALINAS SALCEDO: “Good morning, bro. Can you help me out with a

serial number for Chicago? They will send 170 brother.” UC1 provided a phone

number of a “courier” in Chicago (UC2), the serial number of a one-dollar bill and the

verbal code “de parte de pelon”.

      71.    On or about October 21, 2020, at approximately 4:43 p.m., UC2 received

a telephone call from an unknown male (MONEY COURIER 5), speaking in Spanish.

MONEY COURIER 5 passed the verbal code and informed UC2 that his driver would

be delivering the money and that he would have his driver contact UC2 directly. Later

that day at approximately 5:30 p.m., UC2 received a telephone call from another

unknown male (MONEY COURIER 6), speaking Spanish, who also passed the verbal

code. UC2 asked MONEY COURIER 6 to meet him the next day at a mall at noon.

MONEY COURIER 6 stated they would speak in the morning and determine the

location and time then.

      72.    On or about October 22, 2020, at approximately 10:56 a.m., UC2

received a telephone call from MONEY COURIER 6. UC2 and MONEY COURIER 6

agreed to meet at the mall at noon. At approximately 12:00 p.m., MONEY COURIER

6 and three other individuals arrived at the mall. MONEY COURIER 6 exited the

front passenger seat of the vehicle with a bag and then walked to the front passenger

seat of the undercover vehicle. MONEY COURIER 6 opened the front passenger door

and placed a bag inside and then walked back the front passenger seat of his vehicle.




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The vehicle then drove away. UC2 opened the bag and observed U.S. currency, that

was subsequently found to total approximately $170,297.

      73.    Later that day at approximately 3:41 p.m. SALINAS SALCEDO sent

wiring instructions to UC1.

      74.    On or about October 23, 2020, at approximately 11:45 a.m., UC2 placed

a call to MONEY COURIER 5. UC2 explained he/she was calling because he/she was

looking for “work” [narcotics]. MONEY COURIER 5 stated he would ask his boss for

permission. UC2 stated he/she was “very dry” [no narcotics] at the moment, and that

he/she managed both sides [money and narcotics]. UC2 added that he/she keeps being

told “it’s coming” [narcotics] but that nothing arrived. MONEY COURIER 5 laughed

and said they’ve had the same problem. MONEY COURIER 5 explained that as long

as he had permission it would be fine.

      75.    On or about October 27, 2020, at approximately 1:16 p.m., SALINAS

SALCEDO texted UC1 “What’s going on? [UC2’s] people are calling my client again.

What’s that about? Pay them an adjustment now, this is the second time now. He’s

being a turncoat bro. Help me out with that please. That’s twice now, the last time

with Chalan and now this.” At approximately 1:37 p.m., SALINAS SALCEDO texted

UC1, “He’s asking for work. From that number. That is bullshit.” At approximately

3:59 p.m., SALINAS SALCEDO wrote, “Bro, I’m not your client JO, or talk smack, I

don’t even make threats about who I am or anything. I can only tell you they are

serious people, I am asking to please check it out please. But, make an adjustment

for [UC2] because it’s the second time now.”




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      76.    On or about October 28, 2020, at approximately 9:54 a.m., UC1 informed

SALINAS SALCEDO that he/she had spoken with [UC2] and that “[UC2] is one

hundred percent trustworthy. That being said, I know for a fact that they are running

low on avocados [narcotics] there in Chicago” and SALINAS SALCEDO replied “Yes,

bro because the problem is it seems to me that they already took my work and it’s the

second time this happens now.” At approximately 10:02 a.m., after some additional

discussion between UC1 and SALINAS SALCEDO regarding UC2’s call on October

23, 2020, SALINAS SALCEDO wrote “whether they are the cops or rats, I will

obviously have your back but the issue is that this is not the first time it’s happened

and so that makes them feel nervous and pissed off with me.”

                                   CONCLUSION

      77.    Based on the above information, I respectfully submit there is probable

cause to believe that beginning no later than in or about April 2019 and continuing

until at least on or about October 28, 2020, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere, defendant MIGUEL SALINAS SALCEDO,

also known as “JORGE SALAS,” conspired to commit offenses in violation of Title 18,

United States Code, Section 1956, that is to knowingly conduct and attempt to

conduct a financial transaction affecting interstate and foreign commerce, which

involved the proceeds of a specified unlawful activity, that is the felonious buying and

selling and otherwise dealing in a controlled substance, knowing that the transaction

was designed in whole and in part to conceal and disguise the nature, location, source,

ownership, and control, of the proceeds of said specified unlawful activity and that




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while conducting and attempting to conduct such financial transaction knew that the

property involved in the financial transaction represented the proceeds of some form

of unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i).


                                      FURTHER AFFIANT SAYETH NOT.



                                      CAROLYN WORKING
                                      Special Agent, Internal Revenue Service


SWORN TO AND AFFIRMED by telephone September 22, 2021.



Honorable
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   n rable YO
           YOUNG
              OUUN
                 NG B. KIM
United
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        Statees Magistrate
                Magistrate Judge




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